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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

a

UNITED STATES OF AMERICA

v. CASE NO.8. LY -C.¢ - (0OS-|K KN\ Tet
18 U.S.C. § 371
TIMOTHY BURKE 18 U.S.C. § 1030(a)(2)(C)

18 U.S.C. § 2511(1)(a)
18 U.S.C. § 2511(1)(c)

INDICTMENT

The Grand Jury charges:

COUNT ONE
(Conspiracy)

A. Introduction setts an Fo

At times relevant to this Indictment:

The Conspirators and Their Roles

1. Defendant Timothy Burke (“BURKE”) resided in Tampa,
Florida in the Middle District of Florida. BURKE played multiple roles in the
conspiracy, including utilizing compromised credentials to gain unauthorized
access to protected computers, scouring those protected computers for
electronic items and information, obtaining and stealing electronic items and
information deemed desirable, organizing and exploiting some of those
electronic items and information, and intercepting and disclosing the contents

of wire, oral, and/or electronic video communications.
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2. _—_—- To facilitate BURKE’s conspiratorial conduct, BURKE
maintained and utilized the website iovecitr.us, multiple computers, and
electronic communications services, including his Twitter account @b—og
and the Google accounts associated with email addresses t—ke@gmail.com
and tim@b—ns.com. BURKE utilized Internet Protocol address (“IP
address”) 47:197.207.14 to access the Internet from his Tampa residence.

3. CONSPIRATOR 2 resided in Washington. CONSPIRATOR 2
also played multiple roles in the conspiracy, including securing and utilizing
compromised credentials to gain unauthorized access to protected computers,
scouring those protected computers for electronic items and information,
obtaining and stealing electronic items and information deemed desirable,
organizing and exploiting some of those electronic items and information, and
intercepting the contents of wire, oral, and/or electronic video
communications.

4, To facilitate CONSPIRATOR 2’s role in the conspiratorial
conduct, CONSPIRATOR 2 maintained and utilized computers, the Twitter
account @E—es, and the Google account associated with email address m—
99@gmail.com. CONSPIRATOR 2 utilized IPv4 address 67.183.179.97 and

at least two other IPv6 addresses to access the Internet from his Washington

residence.
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The Companies

The National Sports League

5. The National Sports League (““NSL”) was a professional sports
league founded in New York City, New York. The NSL operated in North
America and was composed of teams based in states across the United States
and in Canada,

6. As one of the major sports leagues in North America, the NSL
had long-standing contracts and partnerships with television and radio
network broadcasters in the United States, Canada, and elsewhere.

7. Pursuant to its operations, the NSL utilized computer systems in
or affecting interstate and/or foreign commerce, including those that made use
of one or more file transfer protocol (“FTP”) servers, such as an FTP server
located at ftp://ftp01.NSL.com. Access to that FTP server required the use of
a username and password (hereinafter, also “credentials”).

StreamCo Inc.

8. StreamCo Inc. (“StreamCo”) was a video contribution
technology company based in the United States that provided worldwide live
video streaming for television, mobile, online, and social media. StreamCo
utilized computer network systems in or affecting interstate and/or foreign

commerce,
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9, StreamCo-Net was a StreamCo service that allowed its
broadcaster-customers to electronically record and transmit high-resolution
content and communications over the Internet. The StreamCo-Net offered a
preview function that enabled its broadcaster-customers to access and review,
at a lower resolution, video content being streamed across the StreamCo-Net
for quality assurance and for other business-related purposes. The StreamCo-
Net preview function was viewable by accessing specific uniform resource
locaters (“URLs”) that were composed of letters, numbers, and symbols and
included a unique StreamCo-assigned “BID,” generated by an algorithm, that
functioned much like a Social Security number.

10. The BIDs ranged from 9-16 characters and were associated with
the StreamCo devices utilized by StreamCo and its customers to capture,
transmit, and record streamed content. In other words, a camera used to
capture and stream events, including in-studio productions, was plugged into a
StreamCo device that had an assigned unique BID. Each StreamCo device
was typically only associated with a discrete StreamCo customer and was not
typically shared between StreamCo customers.

11. Each StreamCo Internet video transmission was encodéd by a
StreamCo device at the event location and sent in a high-resolution video

format via a StreamCo proprietary streaming point-to-point protocol to a

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StreamCo receiving device capable of decoding that transmission, which also
had an assigned unique BID.

12. The StreamCo-Net was designed to limit access to only
authorized customets through the Internet via a secured password-protected
website that required customers to first enter assigned credentials before
gaining access.

Network #1

13. Network #1 (“NW-1”) was a multinational media company
headquartered in New York City, New York that produced and distributed
content through multiple brands, including NW-1 News Media and NW-1
Sports. NW-1 utilized computer systems in or affecting interstate and/or
foreign commerce.

14. NW-1 was a StreamCo broadcaster-customer and therefore
owned and utilized multiple StreamCo devices to develop and stream NW-1
content.

Network #2

15. Network #2 (“NW-2”) was a commercial broadcast television
and tadio network, headquartered in New York City, New York. NW-2
produced and distributed content through multiple divisions, including NW-2

News and. the NW-2 Sports Network.
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16. NW-2 was a StreamCo broadcaster-customer and therefore
owned and utilized multiple StreamCo devices to develop and stream NW-2
content.

Definitions

17. A “computer” was an electronic, magnetic, optical,
electrochemical, or other high speed data processing device performing
logical, arithmetic, or storage functions, and included any data storage facility
or communications facility directly related to or operating in conjunction with
such device.

18. A “protected computer” was a computer which was used in or
affecting interstate or foreign commerce or communication, including a
computer located outside the United States that was used in a manner that
affected interstate or foreign commerce or communication of the United
States.

19, A “server,” including an FTP server, was a computer that
provided services for other computers connected to it via a computer
network—i.e., a set of computers connected together locally for the purpose of
sharing resources—or the Internet. Servers could be physically located and
accessed anywhere with a network or Internet connection. A server could

have been a physical or virtual machine. A physical server was a piece of
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computer hardware configured as a server. Multiple virtual servers could be
located on a single physical server, but each virtual servet’s data would be
segregated from the data of the other virtual servers.

20. An “Internet protocol address” or “IP address” was a unique
identifier assigned to every computer on the Internet or a local network, much
like a phone number. An IP address could at times be used to identify the
location of the computer connected to the Internet. Internet service providers
could assign two different formats of IP addresses to the same account, an
IPv4 address and an IPv6 address, IPv6 is the next generation IP address
standard intended to supplement and eventually replace IPv4, which format
convention does not allow for enough available IP addresses due to the
proliferation of Internet-conneécted devices,

B. The Conspiracy

21. Beginning on an unknown date, but no later than in or around
February 2022, and continuing into May 2023, in the Middle District:of
Florida and elsewhere, the defendant,

TIMOTHY BURKE,
did knowingly and voluntarily combine, conspire, confederate, and agree with
CONSPIRATOR 2 and other persons, both known and unknown to the

Grand Jury, to commit the following offenses against the United States:

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a. to intentionally access a protected computer without
authorization to obtain information therefrom, in violation
of 18 U.S.C. § 1030(a)(2)(C) and (c)(2)(BY\ii);

b. to intentionally intercept, endeavor to intercept, and
procure any person to intercept and endeavor to intercept,
a wire, oral, and electronic communication, in violation of
18 U.S.C. § 2511(1)(a) and (4)(a); and

Cc. to intentionally disclose, and endeavor to disclose, to any
other person the contents of any wire, oral, and electronic
communication, knowing and having reason to know that
the information was illegally obtained through the
interception of a wire, oral, and electronic communication
in violation of 18 U.S.C. § 2511(1)(c) and (4)(a).

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Cc. The Manner and Means of the Conspiracy

22. The manner and means by which the conspirators sought to
accomplish the objects of the conspiracy included, among others, the
following:

a. It was part of the conspiracy that BURKE and
CONSPIRATOR 2 would and did utilize Twitter direct messages and their
Google accounts to exchange information and to coordinate their conduct;

b. It-was further part of the conspiracy that BURKE and
CONSPIRATOR 2 would and did utilize the Internet to search protected
computers and otherwise to secure credentials (usernames and passwords),
which had been issued to other entities and individuals with whom BURKE

and CONSPIRATOR 2 had no affiliation;

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C. It was further part of the conspiracy that BURKE and
CONSPIRATOR 2 would and did secure, share, and save credentials found
or otherwise obtained that enabled access to protected computers owned or
used by the NSL, StreamCo, and NW-2 (collectively, the “Victim Entities”),
without having been authorized to possess or share said compromised
credentials by the Victim Entities or associated individuals to whom those
credentials had been issued;

d. It was further part of the conspiracy that BURKE and
CONSPIRATOR 2 would and did repeatedly utilize the compromised
credentials to gain unauthorized access to the Victim Entities’ protected
computers;

e. It was further part of the conspiracy that, after gaining
unauthorized access to the Victim Entities’ protected computers, BURKE and
CONSPIRATOR 2 would and. did scour the protected computers for
electronic items and information they deemed desirable;

f. It was further part of the conspiracy that BURKE and
CONSPIRATOR 2. would and did obtain and steal electronic items and
information found on the Victim Entities’ protected computers without
securing any authorization or permission from the Victim Entities to observe,

possess, or use said items or information;
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g. It was further part of the conspiracy that BURKE and
CONSPIRATOR 2 would and did use their respective computers to organize
and exploit electronic items and information obtained and stolen from the
StreamCo-Net, including StreamCo-Net BIDs and other proprietary
information, to intercept, and to endeavor to intercept, the contents of wire,
oral, and/or electronic video communications as they were being transmitted
across the StreamCo-Net (the “intercepted contents’) by its broadcaster-
customers;

h. ‘It was further part of the conspiracy that BURKE and
CONSPIRATOR 2 would and did download and save to their respective
computers the intercepted contents retrieved via the StreamCo-Net;

i. It was further part of the conspiracy that BURKE and
CONSPIRATOR 2 would and did exchange direct messages about disclosing
some of the intercepted contents retrieved via the StreamCo-Net:

j. It was further part of the conspiracy that BURKE would
and did disclose some of the intercepted contents to other persons or entities;

k, It was further part of the conspiracy that, prior to
distributing some of the intercepted contents, BURKE took steps to conceal
that the intercepted contents had been originally retrieved from the StreamCo-

Net by, among other conduct, altering the appearance and metadata of the

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wire, oral, and/or electronic video communications by re-recording the
intercepted communications onto a secondary device and distributing said
altered versions of the video communications, rather than the original
intercepted contents;

1. It was further part of the conspiracy that BURKE and
CONSPIRATOR 2 would and did engage in multiple virtual exchanges,
perform acts, and make statements to promote and achieve the objects of the
conspiracy and to misrepresent, hide, and conceal the conspiracy and the acts
committed in furtherance thereof.

D. Overt Acts
23. In furtherance of the conspiracy, and to effect its objects,
BURKE and CONSPIRATOR 2 committed the following overt acts, among
others, in the Middle District of Florida and elsewhere:

a. On or about February 20, 2022, CONSPIRATOR 2 and

BURKE exchanged direct messages via their Twitter accounts, each of which

constitutes a separate overt act, regarding compromised credentials that would

' enable them to access a protected computer, namely the NSL FTP server

located at ftp://ftp01.NSL.com, without having been authorized by the NSL

to use those credentials or to access that FTP server:

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ftp://ftp01.NSL.com
f—ry
a.l | H-sl
It's the main NSL FTP for all of their footage
they post to social, send to partners, etc. E—es b—og
a2 |isee b—og E-—es

b. On or about each of the dates (and times) set forth below,
each of which constitutes a separate overt act, BURKE used compromised
credentials to gain unauthorized. access from the specified IP address to a
protected computer, namely to the NSL FTP server located at

ftp://ftp01.NSL.com:

bl 02-21-2022 | Successful FTP log in using NSL

° (05:40:04) | credentials 47 197.207 14
b.2 09-08-2022 | Successful FTP log in using NSL

° (05:04:40) | credentials 47.197,207.14
b3 09-14-2022 | Successful FTP log in using NSL

° (23:10:03) | credentials 47.197 207.14
b.4 09-14-2022 | Successful FTP log in using NSL

° (23:11:24) | credentials 47 .197.207.14

Cc. On or about each of the dates set forth below, each of

which constitutes a separate overt act, BURKE sent a direct message via his
Twitter account to CONSPIRATOR 2, regarding BURKF’s unauthorized
access of a protected computer, namely the NSL FTP server located at
ftp://ftp01.NSL.com, and BURKE’s efforts to obtain, download, and steal
electronic items and information found therein:

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I kind of gave up on the NSL
c.1 | 05-08-2022 | FTP because the transfers were so
slow. Are they slow for you? b—og E—es

for whatever reason when i try to
download multiple at a time it
ends up in like an 80 GB broken
file of garbage b—og E—es
i figured it out, it's the way the
segmenting works in cyberduck i
tumed it off and the transfers are
way slower but they work now b—og E—es

c.2 | 06-22-2022

€.3 | 06-22-2022

d. On or about August 22, 2022, CONSPIRATOR 2 and
BURKE exchanged direct messages via their Twitter accounts, each of which
constitutes a separate overt act, regarding compromised NW-2 credentials that
would enable the conspirators to access a protected computer, namely the

StreamCo-Net, without having been authorized by either NW-2 or StreamCo

to use those credentials or to access that computer network:

Oh, also
NW-2-net-demo
d.1 | 08-22-2022 | yay
https://t.co/BW30vuhCoT E—es b—og
d.2 | 08-22-2022 | >1080i lol. fun though thanks b—og E—es
e. On or about each of the dates (and times) set forth below,

each of which constitutes a separate overt act, BURKE and CONSPIRATOR

2, as specified, used compromised NW-2 credentials to gain unauthorized

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access from the specified IP address to a protected computer, namely the

StreamCo-Net:

“act | WTO pirat
e.1 (saaoy Log in to StreamCo-Net CONSPIRATOR 5
e.2 (19.4526) Log in to StreamCo-Net aT RRS I4
e.3 135630) Log in to StreamCo-Net a eumen
ca [W222 |r oginwsneamcoNe | 71972071
e.5 (lea3-27) Log in to StreamCo-Net OT Ukea
e.6 (lessasy Log in to StreamCo-Net a UkRE it
e.7 (32710) Log in to StreamCo-Net CONSPIRATOR 5

f. On or about August 22, 2022, BURKE created and saved
to his computer system automated scripts named. “NW-Inew.py” and
“download.php” to organize and exploit the electronic items and information
obtained and stolen from a protected computer, namely the StreamCo-Net.

g. On or about August 22, 2022, BURKE edited and saved to
his Google drive associated with t-~ke@gmail.com an Excel file named.
“locals.csy” to organize and exploit the electronic items and information
obtained and stolen from a protected computer, namely the StreamCo-Net.

h. On or about each of the dates set forth below, each of

which constitutes a separate overt act, BURKE created and saved to his

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computer system the specified file, which contained information. found on and

stolen from a protected computer, namely the StreamCo-Net:

escript: -
a 08-22-2022 | feeds! (2).m3u Pie containing 1,184 unique StreamCo-Net
h.2 | 08-23-2022 | feedsi (1).m3u i He containing 1,578 unique StreamCo-Net
h.3 | 08-24-2022 | feedsi (4).m3u eine 1,679 unique StreamCo-Net
hd | 08-24-2022 | feeds! (5).m3u Re 1,859 unique StreamCo-Net
h.5 | 09-13-2022 | feedst (7).m3u enamine 3,015 unique StreamCo-Net
1. On or about each of the dates set forth below, each of

which constitutes a separate overt act, BURKE saved to his computer system
the specified file, which contained the contents of electronic Wire, oral, and/or
video communications that had been intercepted by the conspirators during

transmission by StreamCo broadcast-customers across the StreamCo-Net:

audio/video NW-2 stream including

off-camera production team
i1 | 08-23-2022 NW-2TM ts conversations, pre-recording for a

° , planned news segment, off-air
production conversations and makeup
applications to news correspondent
audio/video NW-2 stream including
news anchor pre-recording
12 | 09-03-2022 | NW-2N—ah91.ts | introductions for planned news
segments and pre-and-post-production
conversations and activity

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audio/video NW-2 stream including
news correspondent hosting off-camera
2022-09-03_01- | conversation with multiple participants
57-25_NW-2.ts | concerning their political views in
preparation for a segment of a planned
broadcast
audio/video NW-1 stream including
pre-production conversation by show
14 | 09-28-2022 T—ED.mp4 host discussing concern about potential
impact to host’s house from
approaching Hurricane Ian

audio/video NW-1 stream including
i5 | 10-06-2022 0 oT al I interview discussion between show host

-£9_1—K].ts
and guest

1.3 | 09-03-2022

j. On or about the dates.set forth below, each of which
constitutes a separate overt act, BURKE disclosed the below, which had been
culled from electronic wire, oral, and/or video communications that had been

intercepted by the conspirators during transmissions by StreamCo broadcast-

customers across the StreamCo-Net:

Excerpts from an audio/video NW-1 stream intercepted on
jel | 10-10-2022 | 10-06-2022, which included interview discussion between
show host and guest

Excerpt from audio/video NW-1 stream intercepted on 09-
28-22 (together with false and misleading caption), which
j-2 | 04-24-2023 | originally included pre-production statements by show host
expressing concern about potential impact to host’s house
from approaching Hurricane Ian

k. = On or about November 29, 2022, BURKE saved to his

computer system a file named “WebPub Media Invoice Template V2 (1)

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copy.pdf,” which included a reference to an October 11, 2022 WebPub.com
article that contained excerpts from an interview discussion between a NW-1
show host and guest on October 6, 2022.

All in violation of 18 U.S.C. § 371,

COUNTS TWO AND THREE
(Intentionally Accessing Protected Computer Without Authorization)

1. The Grand Jury realleges and incorporates by reference the
paragraphs contained in Section A and Section C of Count One of this
Indictment as though fully set forth herein.

2. On or about the date (and time) set forth below in each count, in
the Middle District of Florida and elsewhere, the defendant,

TIMOTHY BURKE,
intentionally accessed a protected computer used in and affecting interstate
and foreign commerce and. communication, namely, the NSL.FTP server
located at ftp://ftp01.NSL.com, without authorization, and thereby obtained

information from that protected computer, as further detailed below:

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/data/aspera/footage//NSLedit/
20REM-DMO_EDIT_23/media/
0000199543_18.mxf; and
/data/aspera/footage//NSLedit/
20REM-EDIT_JB/media/
0000137655_1.mxf; and
information concerning the Seattle
NSL team
47.197.207.14 | Eight files concerning a former
(BURKE NSL player and one file
Residence) concerning the NSL Brazil

A7.197.207.14
(BURKE
Residence)

09-08-22

T
wo (05:34:58)

; 09-14-22
THREE
E (23:21:50)

In violation of 18 U.S.C. § 1030(a)(2)(C) and (c)(2), and 18 U.S.C. § 2.

COUNT FOUR
(Intentionally Accessing Protected Computer Without Authorization)

1. The Grand Jury realleges and incorporates by reference the
paragraphs contained in Section A and Section C of Count One of this
Indictment as though fully set forth herein.

2. On or about the date (and time) set forth below, in the Middle
District of Florida and elsewhere, the defendant,

TIMOTHY BURKE,
intentionally accessed a protected computer used in and affecting interstate
and foreign commerce and communication, namely, the StreamCo-Net,
without authorization, and thereby obtained information from that protected

computer: (a) in furtherance of a criminal act, in violation of 18 U.S.C.

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§ 2511(1)(a); (b) in furtherance of a criminal act, in violation of 18 U.S.C.
§ 2511(1)(c); and (c) for the purpose of commercial advantage and private

gain, as further detailed below:

FOUR | 98-22-2022 47.197.207.14

(19:45:26) (BURKE Residence) StreamCo-Net BIDs

In violation of 18 U.S.C. § 1030(a)(2)(C) and (c\(2)(B)(ii), and

18 U.S.C. § 2.

COUNTS FIVE THROUGH SEVEN
(Intentionally Accessing Protected Computer Without Authorization)

1. The Grand Jury realleges and incorporates by reference the
paragraphs contained in Section A and Section C of Count One of this
Indictment as though fully set forth herein.

2. On or about the date (and time) set forth below in each count, in
the Middle District of Florida and elsewhere, the defendant,

TIMOTHY BURKE,
intentionally accessed a protected computer used in and affecting interstate
and foreign commerce and communication, namely, the StreamCo-Net,

without authorization, and thereby obtained. information from that protected

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computer in furtherance of a criminal act, in violation of 18 U.S.C.

§ 2511(1\{a), as further detailed below:

08-23-2022 47.197.207.14
BIVE | 13:56:26) | (BURKE Residence) | StteamCo-Net BIDs
08-24-2022 47.197.207.14
SUC | a7:25:23)| (BURKE Residence) | StteamCo-Net BIDs
09-13-2022 47.197.207.14
SEVEN | (9:40:38) | (BURKE Residence) StreamCo-Net BIDs

In violation of 18 U.S.C. § 1030(a)(2)(C) and (c)(2)(B)(GD, and
18 U.S.C. § 2.

COUNTS EIGHT THROUGH TWELVE
(Intentional Interception of a Wire, Oral,
or Electronic Communication)

1. The Grand Jury realleges and incorporates by reference the
paragraphs contained in Section A and Section C of Count One of this
Indictment as though fully set forth herein.

2. On or about the date set forth below in each count, in the Middle
District of Florida and elsewhere, the defendant,

TIMOTHY BURKE,
intentionally intercepted, endeavored to intercept, and procured another

person to intercept and to endeavor to intercept, the contents of a wire, oral,

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and electronic communication as it was occurring, by means of a device,

namely a computer, as further detailed below:

including off-camera
67.183.179.97 production team conversations,

BIGHT | 08-23-2022 | (CONSPIRATOR 2 | Pre-tecording for a planned

news segment, off-air
production conversations and
makeup applications to news
correspondent
audio/video NW-2 stream
including news anchor pre-
09-01-2022 67.183.179.97 recording introductions for
NINE 9-0 1- (CONSPIRATOR 2 | |
Residence) planned news segments and
pre-and-post-production
conversations and activity
audio/video NW-2 stream
including news correspondent
47.197.207.14 _ | hosting of camera itiol
conversation with multiple
TEN 09-03-2022 (BURKE participants concerning their
Residence) political views in preparation
for a segment of a planned
broadcast
audio/video NW-1 stream
including pre-production
47.197.207.14 conversation by show host
ELEVEN | 09-28-2022 (BURKE discussing concern about
Residence) potential impact to host’s
house from approaching
Hurricane Ian

47.197,207.14 audio/video NW-1 stream
TWELVE | 10-06-2022 (BURKE including interview discussion

Residence) between show host and guest

Residence)

In violation of 18 U.S.C. § 2511(1)(a), and 18 U.S.C. § 2.

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COUNTS THIRTEEN AND FOURTEEN
(Intentionally Disclosing Illegally Intercepted
Wire, Oral, or Electronic Communication)

1. The Grand Jury realleges and incorporates by reference the
paragraphs contained in Section A and Section C of Count One of this
Indictment as though fully set forth herein.

2. On or about the date set forth below in each count, in the Middle
District of Florida and elsewhere, the defendant,

TIMOTHY BURKE,
‘intentionally disclosed, and endeavored to disclose, to another person, the
contents of a wire, oral, and electronic communication, knowing and having
treason to know that the information was obtained through the interception of
a wire, oral, and electronic communication, in violation of 18 U.S.C.

§ 2511(1)(a), as further detailed below:

. COUNT.

_ DATE. __ DISCLOSED, COMMUNICATION
Excerpts from an audio/video NW-1 stream
THIRTEEN | 10-10-2022 | intercepted on 10-06-2022, which included interview
discussion between show host and guest

Excerpt from audio/video NW-1 stream intercepted
on 09-28-22 (together with false and misleading
FOURTEEN | 04-24.2023 caption), which originally included pre-production
statements by show host expressing concern about
potential impact to host’s house from approaching
Hurricane Jan

In violation of 18 U.S.C. § 2511(1)(c), and 18 U.S.C. § 2.

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FORFEITURE

1. The allegations contained in Counts One through Fourteen of
this Indictment are incorporated by reference for the purpose of alleging
forfeitures pursuant to 18 U.S.C. §§ 982(a)(2)(B), 1030(i), and 2513, and 28
U.S.C, § 2461.

2. Upon conviction of a violation of 18 U.S.C. § 1030, the
defendant, TIMOTHY BURKE, shall forfeit to the United States, pursuant to
18 U.S.C. § 982(a)(2)(B), any property constituting, or derived from,
proceeds obtained, directly or indirectly, as a result of such violation and,
pursuant to 18 U.S.C. § 1030(), any personal property used or intended to be
used to commit or to facilitate the commission of such violation.

3. Upon conviction of a violation of 18 U.S.C. § 2511, the
defendant, TIMOTHY BURKE, shall forfeit to the United States, pursuant to
18 U.S.C. § 2513, any electronic, mechanical, or other device used, sent,
carried, manufactured, assembled, possessed, sold, or advertised in violation
of section 2511.

4. The property to be forfeited includes, but is not limited to, the
$1,500.00 in proceeds BURKE obtained as a result of the commission of one
or more offenses, the website domain ilevecitr-us, and the following items

seized from BURKE on May 8, 2023:

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4a One gray iPhone

Ab One gray Apple laptop, Model A1278, Serial number
. CIMH3DJ9DV13 with power cord

Ac One gray Macbook Air, Model A1466, Serial number
‘ CO2MMOSNFLCG with power cord

4.d One black rackmount PC - NVMe

4e One black rackmount PC - HDD

4f One black rackmount PC - Samsung NVMe

4.9 One black rackmount PC - SSD

4h One black rackmount PC - RAID

Aj One white computer tower - RALLY RAID

4,j One white computer tower - NVMe 960

4k One white computer tower - NVMe 970

4] One white computer tower - HDD RAID (8 Drives)

4.m One white computer tower - HDD 9

4n One white computer tower - HDD 10

4.0 One gray Lacie external hard drive

4.p One black PC tower

4q One Apple iPhone Model A1660, black

Agr One black ASUS PC Serial number CCPDCG0019WM - HDD

4.5 One black ASUS PC Serial number CCPDCG0019WM - SSD

At One black Hitachi 500GB hard drive S/N
80G3XZLC with two cords

5. If any of the property described above, as a result of any act or
omission of the defendant:
a. cannot be located upon the exercisé of due diligence;
b. has been transferred or sold to, or deposited with, a third.
party,
c. has been placed beyond the jurisdiction of the. court;

d. has been substantially diminished in value; or

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e. has been commingled with other property which cannot be

divided without difficulty;

the United States of America shall be entitled to forfeiture of substitute

property pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C.
§ 982(b)(1).

A TRUE BILL,

Foreperson

ROGER B. HANDBERG
United States/Attorney

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—Jay GT rezevant—
‘Assistant United States Attorney

— wae / .
By: Preekette fl, thucf Arla
Rachelle DesVaux Bedke
Assistant United States Attorney

Chief, Economic Crimes Section

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FORM OBD-34

February 24 No.

UNITED STATES DISTRICT COURT
Middle District of Florida
Tampa Division

THE UNITED STATES OF AMERICA

vs.

TIMOTHY BURKE

INDICTMENT

Violations: 18 U.S.C. § 371, 18 U.S.C. § 1030, 18 U.S.C. § 2511

A true bill

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Foreperson

Filed in open court this 15th day

of February 2024.

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. Clerk

Bail $

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